           Case: 23-2608    Document: 15    Page: 1    Date Filed: 10/12/2023




                                 Record No. 23-2608


                    UNITED STATES COURT OF APPEALS
                         FOR THE THIRD CIRCUIT


                           SUN VALLEY ORCHARDS, LLC,

                                                      Appellant
                                           v.

               U.S. DEPARTMENT OF LABOR; UNITED STATES
                         SECRETARY OF LABOR

                                                      Appellees.


                       UNOPPOSED MOTION TO STAY
                      BRIEFING PENDING DECISION BY
                           U.S. SUPREME COURT


      Pursuant to Federal Rules of Appellate Procedure 26(b) and 27, as well as

Third Circuit Rule 31.4, Appellant Sun Valley Orchards, LLC moves the Court to

stay briefing in this appeal and to extend the time to file the opening brief and joint

appendix until 60 days after the U.S. Supreme Court issues a decision in SEC v.

Jarkesy, No. 22-859. Appellees do not oppose this motion. In support of this

motion, Appellant states as follows:

      1.      The Court on September 26, 2023, set a briefing schedule under

which the opening brief and joint appendix are due November 6, 2023; the



                                           1
           Case: 23-2608   Document: 15     Page: 2     Date Filed: 10/12/2023




response brief is due thirty days after service of the opening brief; and the reply is

due twenty-one days after service of the response brief. See D.E. 13-3.

      2.      This appeal involves a challenge to a decision by the Department of

Labor (“DOL”) to impose $211,800 in civil monetary penalties and $344,945.83 in

back wages. The initial decision to impose that liability was made by a DOL

administrative law judge (“ALJ”), and the ALJ’s decision was reviewed by a panel

of DOL agency judges referred to as the Administrative Review Board.

      3.      In the district court, Appellant argued that the imposition of such

liability implicates “private rights” and that adjudication in DOL’s agency court

therefore violated Article III. In support of that claim, Appellant relied on Jarkesy

v. SEC, 34 F.4th 446 (5th Cir. 2022), which held that a claim to impose monetary

penalties implicated private rights and therefore could not properly be adjudicated

in an administrative court.

      4.      The U.S. Supreme Court granted certiorari in Jarkesy on June 30,

2023, and that appeal is currently being briefed on the merits.

      5.      The issues in this case will likely be significantly affected by the

Supreme Court’s decision in Jarkesy, as the Supreme Court in that case appears set

to address the circumstances under which an agency adjudication implicates

“private rights” for purposes of Article III and the Seventh Amendment.




                                           2
           Case: 23-2608   Document: 15    Page: 3     Date Filed: 10/12/2023




      6.       In fact, because of the connection between the cases, Appellant is

planning to file an amicus brief in Jarkesy to discuss the issues raised by this

appeal. That amicus brief is due on October 18, 2023.

      7.      Given the above, a stay of briefing would conserve the resources of

the parties and the Court. If briefing was not stayed, the parties would spend

significant time briefing issues that may be at least partly resolved in Jarkesy, and

it is likely that the parties would also find it necessary to submit supplemental

briefing on those same issues following an eventual decision in Jarkesy. A stay

would, by contrast, allow for a single round of briefing that would fully account for

developments at the Supreme Court.

      8.      Appellant therefore moves that briefing be stayed pending the

Supreme Court’s consideration of Jarkesy, with the opening brief and appendix

due 60 days following a decision in that case. As under the current schedule, the

response brief would remain due thirty days after service of the opening brief, and

the reply would remain due twenty-one days after service of the response brief.

      9.      Counsel for Appellant has consulted with counsel for Appellees, and

Appellees state that this motion is unopposed.

                                  CONCLUSION

      In light of the foregoing, Appellant respectfully asks that the motion to stay

briefing be granted.



                                          3
        Case: 23-2608     Document: 15   Page: 4       Date Filed: 10/12/2023




Dated: October 12, 2023

                                             Respectfully submitted,

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                                         4
           Case: 23-2608    Document: 15    Page: 5      Date Filed: 10/12/2023




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    3.     This motion is uncontested under Third Circuit Rule 27.3.

Dated: October 12, 2023                        s/ Robert E. Johnson
                                               Counsel for Appellant


                                Certificate of Service

         I certify that on October 12, 2023, this Unopposed Motion to Stay Briefing

Pending Decision by U.S. Supreme Court was served through the Court’s CM/ECF

system on counsel for all parties to be served.

                                               s/ Robert E. Johnson
                                               Counsel for Appellant




                                           5
